                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE

  M.B., et al.,                                               )
                                                              )
          Plaintiff,                                          )
                                                              )
  v.                                                          )       No. 3:21-CV-317
                                                              )
  GOVERNOR BILL LEE, et al.                                   )
                                                              )
          Defendant.                                          )


        REPLY TO RESPONSE IN OPPOSITION TO STAY INJUNCTION PENDING
                                 APPEAL1
          Comes Now Defendant Knox County Board of Education (“KCBOE”), by and through

  counsel, and replies to Plaintiffs’ Response in Opposition to the Motion to Stay Injunction Pending

  Appeal [Doc. 45] as follows:

          At the outset, KCBOE would note that Plaintiffs did not meaningfully address the factors

  governing injunctive relief. When considering a motion to stay pending appeal, a court must

  consider “the traditional factors governing injunctive relief,” including “(1) whether the defendant

  has a strong or substantial likelihood of success on the merits; (2) whether the defendant will suffer

  irreparable harm if the district court proceedings are not stayed; (3) whether staying the district

  court proceedings will substantially injure other interested parties; and (4) where the public interest

  lies.” Baker v. Adams Cnty./Ohio Valley Sch. Bd., 310 F.3d 927, 928 (6th Cir. 2002). Instead of

  addressing these factors, and thus the merits of KCBOE’s motion, Plaintiffs simply state that they

  have agreed that there should be further medical exemptions from the Court’s order, but assert that



  1
   This reply is submitted after the Court’s most recent Memorandum Opinion and Order [Docs. 47 & 48] partially
  granting KCBOE’s Motion to Alter or Amend. Such order obviates some, but not all, of KCBOE’s arguments
  presented in its initial Motion for Stay Injunction Pending Appeal [Doc. 43]. KCBOE would withdraw those
  arguments which the Court’s order has rectified as moot in light of the Court’s most recent Amended Order.

                                                         1

Case 3:21-cv-00317-JRG-DCP Document 51 Filed 10/13/21 Page 1 of 5 PageID #: 1092
  the other “occasional rabble-rouser[s],” should have no medical or legal voice in this litigation.

  KCBOE’s mission is to serve the needs of all students in Knox County: students such as Plaintiffs,

  students who—or whose parents—object to the wearing of masks and refuse to comply with a

  mandate, and students who have some condition which would make them eligible for an exception,

  exemption, and/or accommodation2 from a universal mask mandate such as that originally

  advocated by the Plaintiffs.3

           KCBOE must contend with the tactics of individuals or groups which add to the stress and

  difficulty of the education of children in Knox County, but thus far fall short of actually disrupting

  the educational process. While KCBOE can evict trespassers (that is, persons—usually adults—

  with no school business to conduct, or those who disrupt the educational process) from its property,

  it has not chosen at this time to prevent parents from escorting students onto school campuses,

  which would be within its authority but would cause yet more community discord.4

           KCBOE would rely on the arguments it has made in prior pleadings regarding why only

  allowing “medical exemptions” (essentially exempting students on the basis of a diagnosis without

  inquiry into that student’s specific circumstances), is an inappropriate way of deciding a student’s



  2
    Pursuant to an IEP, a 504 plan, or one of the more discretionary standards set out in last year’s KCBOE policy C-
  240, such as a behavioral exception for a particular student based upon his/her particular needs.
  3
    Now accommodated by this Court’s Order, Doc. 48.
  4
    KCBOE believes that under the First Amendment, it cannot prevent parents from expressing political messages
  while escorting their students to campus, so long as they do not disrupt the educational process. To do so would be
  in essence to discriminate on the basis of the content of their speech or message, which is impermissible. KCBOE
  would not, presumably, ban parents walking their children to school who cheer students and staff wearing masks,
  and/or carrying signs supporting a mask mandate. KCBOE will address any person who presents a security threat or
  who disrupts the educational process. See, e.g., Lovern v. Edwards, 190 F.3d 648, 655 (4th Cir. 1999): “School
  officials have the authority to control students and school personnel on school property, and also have the authority
  and responsibility for assuring that parents and third parties conduct themselves appropriately while on school
  property. See, e.g., Carey v. Brown, 447 U.S. 455, 470-71, 65 L. Ed. 2d 263, 100 S. Ct. 2286 (1980) (the
  Constitution does not leave state officials powerless to protect the public from threatening conduct that
  disturbs the tranquility of schools); Goss v. Lopez, 419 U.S. 565, 582-83, 42 L. Ed. 2d 725, 95 S. Ct. 729 (1975)
  (a school official’s determination of the existence of an ongoing threat of disruption of the academic process can
  justify immediately removing a person from school property). While the specific contours of the authority and
  responsibility of school officials are defined by state law, such officials should never be intimidated into
  compromising the safety of those who utilize school property.” Emphasis added.

                                                           2

Case 3:21-cv-00317-JRG-DCP Document 51 Filed 10/13/21 Page 2 of 5 PageID #: 1093
  accommodations in a school. To do so is to violate the letter and spirit of federal disability law,

  which requires school systems to make accommodations on an individualized basis. 5 Moreover,

  KCBOE has continued to receive complaints from parents that local area pediatricians’ offices

  have been telling them that they will not be providing any mask exemptions whatsoever, which

  just highlights the deficiencies of such a plan.6

          Plaintiffs’ petition assumed that because parents complied last school year, they would do

  so again this school year. As Plaintiffs noted, however, the “factional winds” have shifted, and

  there is a strong and continuous resistance to compliance with the mask mandate. Every day,

  hundreds of students are either absent or being sent to isolation rooms in the schools while waiting

  for their parents to come and pick them up because they refuse to wear a mask. Moreover, some

  parents are refusing to pick up their children, resulting in students staying for hours isolated from

  their (mask wearing) peers with no instruction, i.e., they are effectively absent. Plaintiffs have

  asserted that the truancy process will fix this problem. However, the truancy process may be

  ineffective, may directly harm students, requires the cooperation of agencies outside the control of

  KCBOE, and takes take months to even begin to be initiated. KCBOE must meet with parents of

  students not attending school at least twice, attempt to develop plans to increase attendance of that

  student, then allow time for the “plan” to either work or not work, send home several notices and

  then, and only then, can KCBOE send truancy information to the local courts. Tenn. Code Ann. §

  49-6-3007(e); Tenn. Code Ann. § 49-6-3009 et. al. Even after all of those exhaustive steps, it is


  5
    KCBOE acknowledges that this Court’s most recent order, Doc. 48, permits it to adopt a more flexible standard
  than that advocated by Plaintiffs. KCBOE is merely responding to Plaintiffs’ argument here.
  6
    This Court has now permitted KCBOE to revert to the standards outlined in its now-sunsetted policy C-240, which
  permits individualized accommodations. KCBOE acknowledges the reality that some parents may attempt to “game
  the system” by obtaining an unneeded mask exemption. It appears that few medical professionals will allow
  themselves to be parties to such an attempt. See, e.g., “Oak Ridge Pediatrician: Few children actually qualify for a
  medical mask exemption,” at https://www.wbir.com/article/news/health/coronavirus/few-qualify-for-a-medical-
  mask-exemption-knox-county-schools-parents-against-masks-find-ways-around-it/51-851c4323-b292-4c15-8416-
  2a5f1d0cf6d8, last accessed 10/12/2021.

                                                           3

Case 3:21-cv-00317-JRG-DCP Document 51 Filed 10/13/21 Page 3 of 5 PageID #: 1094
  up to the Juvenile Court and local prosecutor’s office to decide to take the next steps. It is

  completely out of KCBOE’s control at that point. Id. It is worth noting that even if a student absent

  because he/she was protesting mask mandates were found to be truant, this finding might only

  reaffirm in the student’s mind that he/she is “fighting the system.” It would do nothing to actually

  give that child an education.

          KCBOE acknowledges that the number of students engaging in obvious non-compliance

  is less than 1% of the student population7 but that does not mean they do not have the same right

  to be educated as the Plaintiffs. In fact, generally speaking, this entire case is about less than 1%

  of the population. Children in Knox County, Tennessee, aged 0-17 have a hospitalization rate of

  0.36%     and     a   current     death     rate   of    0%.     [Knox      County      Health     Department,

  https://covid.knoxcountytn.gov/case-count.html, last visited October 11, 2021.] These Plaintiffs

  do not speak for all students with disabilities. Many students with disabilities have been impacted

  by the Order causing him or her to be excluded from the educational programming offered by

  KCBOE8 and not every student with disabilities, or his/her family agrees that there should be a

  mask mandate at all.

          Finally, KCBOE continues to disagree that universal masking is a reasonable

  accommodation for these plaintiffs, and that is the issue: whether this Court can order a mask

  mandate as a reasonable accommodation pursuant to the ADA and Section 504. Reasonable

  accommodations must be made when necessary to avoid discrimination on the basis of disability

  unless the public entity can demonstrate that the modifications would result in a “fundamental

  alteration” or of the service, program or activity. R.K. v. Bd. of Educ., No. 5:09-CV-344-JMH,


  7
    As KCBOE cannot determine which absences are due to a parent’s refusing to send their student masked, the
  actual percentage could be higher.
  8
    This issue should be alleviated by this court’s issuance of its Amended Order [Doc. 48]. As Knox County Schools
  is currently on its Fall Break, we do not yet know the impact of the Court’s most recent order.

                                                          4

Case 3:21-cv-00317-JRG-DCP Document 51 Filed 10/13/21 Page 4 of 5 PageID #: 1095
  2014 U.S. Dist. LEXIS 121340, at *24 (E.D. Ky. Aug. 28, 2014); 28 C.F.R. § 35.130(b)(7). The

  universal mask mandate cannot be a reasonable accommodation when it directly infringes on the

  rights of other students.

         A stay is appropriate in this matter because KCBOE can demonstrate a likelihood of

  success on the merits. KCBOE and its students face irreparable harm if the injunction is permitted

  to continue. Finally, the public interest lies in permitting KCBOE to follow policies adopted by its

  elected board rather than a Court’s Order. For these reasons, KCBOE respectfully requests that

  the Court enter an order staying the preliminary injunction until resolution on appeal.



                                                         Respectfully submitted,


                                                         s/David M. Sanders
                                                         David M. Sanders (BPR # 016885)
                                                         Amanda Lynn Morse (BPR # 032274)
                                                         Deputy Law Director
                                                         Suite 612, City-County Building
                                                         400 Main Street
                                                         Knoxville, TN 37902
                                                         (865) 215-2327




                                   CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing was filed electronically on the date recorded
  by the Court’s electronic filing system. Notice of this filing will be sent by operation of the Court’s
  electronic filing system to all parties indicated on the electronic filing receipt. All other parties
  will be served by regular United States Mail, postage prepaid. Parties may access this filing
  through the Court’s electronic filing system.

                                                         s/David M. Sanders
                                                         David M. Sanders

                                                    5

Case 3:21-cv-00317-JRG-DCP Document 51 Filed 10/13/21 Page 5 of 5 PageID #: 1096
